963 F.2d 1521
    Lovev.Kwitny
    NO. 91-7979
    United States Court of Appeals,Second Circuit.
    Apr 03, 1992
    Appeal From:  S.D.N.Y., 772 F.Supp. 1367
    
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      AFFIRMED.
    
    
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      Federal Reporter.  The Second Circuit provides by rule for
    
    
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      disposition by summary order when a decision is unanimous
    
    
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      and each judge believes that 'no jurisprudential purpose
    
    
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      would be served by a written opinion.' Decisions without
    
    
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      formal opinions 'shall not be cited or otherwise used in
    
    
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      unrelated cases.' Second Circuit Rules, § 0.23, 28 U.S.C.A.)
    
    